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13                                    UNITED STATES DISTRICT COURT
14                                    EASTERN DISTRICT OF CALIFORNIA
15

16   UNITED STATES OF AMERICA,                       No. CR S 13-0330 KJM
17                       Plaintiff,               (AMENDED) STIPULATION AND
                                                  PROPOSED ORDER MODIFYING
18           v.                                   CONDITIONS OF RELEASE FOR CO-
                                                  DEFENDANTS GLEN MEYERS AND AIMEE
19   GLEN EDWARD MEYERS, et al.                   BURGESS TO ALLOW JAIL VISITS
                                                  BETWEEN MEYERS AND BURGESS AND
20                       Defendant.               HER CHILDREN AND TELEPHONE CALLS
                                                  FROM THE SACRAMENTO COUNTY JAIL
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24           IT IS HEREBY STIPULATED by and between the parties and their respective attorneys
25
     of record that pre-trial release conditions of GLEN EDWARD MEYERS and AIMEE BURGESS
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     shall be modified as follows:
27
      GLEN EDWARD MEYERS and codefendant AIMEE SHARON BURGESS may have visits at
28
     STIP AND ORDER MODIFYING CONDITIONS OF          1
     RELEASE TO ALLOW JAIL VISITS
         Case 2:13-cr-00330-KJM Document 44 Filed 11/27/13 Page 2 of 2


 1   the Sacramento County Jail and that BURGESS may bring her children with her during these
 2   visits. It is further agreed that MEYERS and BURGESS will not discuss their pending case and it
 3
     is further agreed and understood that said visits shall be recorded by the jail.
 4
             IT IS FURTHER AGREED AND STIPULATED that GLEN EDWARD MEYERS may
 5
     call AIMEE SHARON BURGESS from the Sacramento County Jail. It is further agreed that
 6

 7   MEYERS and BURGESS will not discuss their pending case and it is further agreed and

 8   understood that said phone calls may be recorded by the jail.

 9           This Stipulation modifies defendant BURGESS’ SPECIAL CONDITIONS OF RELEASE
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     Document 21 dated October 9, 2013, Special Condition 12, which prohibits BURGESS from
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     associating with or having any contact with any co-defendant unless in the presence of counsel.
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14   Dated: 11-25-2013                                                     Michele Beckwith
                                                                           Assistant U.S. Attorney
15                                                                         For the United States
16
     Dated: 11-25-2013                                                     Patrick K. Hanly
17                                                                         Attorney for Defendant Glen
                                                                           E. Meyers
18

19   Dated: 11-25-2013                                                     Joe Gazigli
                                                                           Attorney for Defendant
20                                                                         Aimee Burgess
21   IT IS SO ORDERED:
22   Dated: November 26, 2013
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     STIP AND ORDER MODIFYING CONDITIONS OF            2
     RELEASE TO ALLOW JAIL VISITS
